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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

xX
UNITED STATES OF AMERICA,
Government, PROP
SEALED ORDER
-against-
15 CR 867 (RMB)
REZA ZARRAB,
Defendant,
xX

 

For the reasons set forth in the letter dated July 11, 2018 submitted by the Defendant and
consented to by the government, the following conditions supersede and replace the conditions
of release set forth in the sealed order dated J. anuary 22, 2018 (the “January 22, 2018 Order”):

1- Defendant and his residence will be subject to random unannounced searches bya
representative of Pretrial Services and/or representative of the Federal Bureau of Investigation.

2- Bond in the amount of $5 million signed by Defendant and secured by $100,000.00
pursuant to the January 22, 2018 Order shall remain in effect.

3- Pretrial supervision as directed by Pretrial Services.

4- Defendant shall not possess or use any phone other than that approved by the
Government, which will be subject to search and review at the Government’s or Pretrial
Services’ request.

5- Defendant shall not possess or use a computer other than that approved by the
Government, which will be subject to search and review at the Government’s or Pretrial
Services’ request.

6- Travel is restricted to the Southern and Eastern Districts of New York, the District of
New Jersey, and the District of Connecticut with any travel outside of the aforementioned

districts subject to prior approval by Pretrial Services and the Government.
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7- Defendant’s travel documents shall remain in the Government’s custody except as
approved by the Government, and no new applications for travel documents are permitted
without the Government's prior approval.

8- Defendant shall not be required to hire a security company, but Defendant may be

permitted to have security as he deems necessary for his personal safety.

  

Dated: Ney tk, New York a=, |
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RICHARD M. BERMAN, U.S.D.J.

 
